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IN THE UNITED STATES ])ISTRICT COURT
FOR ’I`HE EASTERN DISTRICT OF PENNSYLVANIA

 

JOl-IN DOE CIVIL ACTION

Vs. NO. 2:18-CV-02044
ST. JOSEPH’S UNIVERSITY and JANE
ROE

ORI)ER

AND NOW, this day Of , 2018,

 

upon consideration of Defenda.ut lane Roe’s Renewed l\/lotion for Summary Judgment
and all Responses theretc), it is hereby ORDERED that said Motion is GRANTED.
Summary Judgment is hereby entered in favor of Defendant lane Roe on all

claims

BY THE COURT:

 

Diamond, J.

   

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MINTZER, SAROWITZ, ZERIS,
LEDVA & MEYERS, LLP
BY: SUSAN R. ENGLE, ESQUIRE

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MSZL&M File No. 004150.000009

 

JOHN DOE COURT OF COl\/IMON PLEAS
USDC - EASTERN
vs.

ST. IOSEPH'S Ul\_ll\/ERSITY and JANE NO. 2:18-CV-02044
ROE

DEFENDANT, JANE ROE’S REPLY TO PLAINTIFF’S RESPONSE TO
DEFENDANT. JANE ROE’S RENEWED MOTION FOR SUMMARY
.]UDGMENT

Defendant Jane Roe hereby tiles the instant Reply to Plaintift’ s Opposition to her
Renewed l\/Iotion for Surnmary Judgrnent.

On September 4, 2018, this Honorable Coui't entered an Order directing that
dispositive motions Were to be filed by September 24, 201 S, and all responses to
dispositive motions be filed no later than October 8, 2018. See September 4, 2018 Order
attached hereto as Exhibit “A.”

Plaintiff filed a response to Det`endant Roe’s Renewed Motion for Surnmary
Jiidgnient on October 9, 2018, beyond the time ordered by this l-lonorable Court. Further,
Plaintiff has still not filed the exhibits to the response Plaintiff did not seek leave from
the Court to file this response late. Plaintiff did not seek consent of Defendant Roe to tile

the response late. Further, this is the second time Defendant Roe has filed for Summary

Judgrnent. Plaintiff has been on notice of the arguments being made by Defendant Roe

 

 

   

 

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since July 30, 2018. Siniply put, Plaintift’ s opposition to Roe’s Renewed Motion for
Summary Judgment is late Without justification Defendant Roe respectfully requests that
this Court disregard Plaintift" s untimely response and grant Defendant Roe’s l\/lotion for

Sunimary Judgment.
MINTZER, SAROWITZ, ZERIS, LEDVA & MEYERS, LLP

BY: /s/ Susan R. Engle
SUSAN R. ENGLE, ESQUIRE
Attorney for Defendant, JANE ROE

 

 
 

     
 

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JOHN DOE,
Plaintiff,

v. : Civ. No. 18-2044

ST. JOSEPH’S UNIVERSITY, et al.,
Defendants.

 

0 R I) E R
AND NOW, this 4th day of September, 2018, it is hereby ORI)ERED that:

l. Defendant Roe’s psychiatric records show that she Was diagnosed With Post-Traninatic
Stress Disorder, thus confirming the truthfulness of her deposition testimony to this
effect;

2. Defendant Roe’s psychiatric records shall otherwise remain sealed. Defendant Roe is not
required during her deposition to answer any questions respecting her psychiatric
treatment;

3. At the conclusion of Defendant Roe’s deposition, discovery in this matter Will be closed;

4. Dispositive motions shall be filed no later than September 24, 2018; and

5. Responses to dispositive motions shall be filed no later than October 8, 2018.

AND IT IS SO ORDERED.

/S/ Paul S. Diamona’

 

Paul S. Diamoiid, J .

 

 

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CERTIFICATE OF SERVICE

 

l, STEVEN N. CHERRY, ESQUIRE, do hereby certify that a true and correct
copy of the vvithin REPLY TO PLAINTIFF’S RESPONSE TO DEFENDANT,
.IANE ROE’S RENEWED MOTION FOR SUMMARY JUDGMENT AND
MEMORANDUM OF LAW Was forwarded by Electronic Filing Service (ECF)

October 10, 201 S, as folloWs:

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/s/ Susan R. Engle

 

SUSAN R. ENGLE, ESQUIRE

